
PER CURIAM.
By petition for writ of certiorari we have for review two orders of the Florida Industrial Commission bearing dates February 26, 1968, and April 17, 1968.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petitions, records and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
*5The petitions for certiorari and for attorneys’ fees are therefore denied.
It is so ordered.
ROBERTS, Acting C. J., and DREW, THORNAL, ERVIN and ADAMS, JJ., concur.
